4/22/2021     Case: 4:21-cv-00476-SRC Doc. #:Case.net:
                                                1-1 2122-CC00361
                                                       Filed: 04/23/21      Page: 1 of 22 PageID #: 5
                                                                  - Docket Entries




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                   2122-CC00361 - MARY MACAULAY V ST LOUIS BOA PLACE LLC ET AL (E-
                                               CASE)

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  04/14/2021           Summons Personally Served
                       Document ID - 21-SMCC-1792; Served To - ST. LOUIS BOA PLACE, LLC; Server - R SABOURIN,
                       SERVICE DEPUTY; Served Date - 12-APR-21; Served Time - 13:25:00; Service Type - Sheriff
                       Department; Reason Description - Served

  04/07/2021           Corporation Served
                       Document ID - 21-SMCC-1793; Served To - JONES LANG LASALLE AMERICAS INC; Server - ;
                       Served Date - 26-MAR-21; Served Time - 00:00:00; Service Type - Sheriff Department; Reason
                       Description - Served

  03/17/2021           Alias Summons Issued
                       Document ID: 21-SMCC-1793, for JONES LANG LASALLE AMERICAS INC.
                       Alias Summons Issued
                       Document ID: 21-SMCC-1792, for ST. LOUIS BOA PLACE, LLC.
                       Request Filed
                       Request for Alias Summonses.
                         Filed By: HELMUT STARR
                         On Behalf Of: MARY MACAULAY
                       Notice of Service
                       Return of Service.
                         Filed By: HELMUT STARR

  03/01/2021           Jury Trial Scheduled
                           Scheduled For: 08/23/2021; 9:00 AM ; MICHAEL FRANCIS STELZER; City of St. Louis

  02/21/2021           Summons Issued-Circuit
                       Document ID: 21-SMCC-1225, for JONES LANG LASALLE AMERICAS INC.
                       Summons Issued-Circuit
                       Document ID: 21-SMCC-1224, for ST. LOUIS BOA PLACE, LLC.

  02/18/2021           Filing Info Sheet eFiling
                           Filed By: HELMUT STARR
                       Pet Filed in Circuit Ct
                       Petition for Damages.
                          Filed By: HELMUT STARR
                          On Behalf Of: MARY MACAULAY

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                1/2
4/22/2021     Case: 4:21-cv-00476-SRC Doc. #:Case.net:
                                                1-1 2122-CC00361
                                                       Filed: 04/23/21      Page: 2 of 22 PageID #: 6
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                      Judge Assigned
 Case.net Version 5.14.17.6                                Return to Top of Page              Released 04/13/2021




https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                       2/2
                                                                                Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 3 of 22 PageID #: 7
                                                              2122-CC00361
                                                                                Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 4 of 22 PageID #: 8
                                                                                Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 5 of 22 PageID #: 9
                                                                                 Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 6 of 22 PageID #: 10
                                                                                 Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 7 of 22 PageID #: 11
                                                                                 Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 8 of 22 PageID #: 12
                                                                                 Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
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                                                                                  Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
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                                                                                  Electronically Filed - City of St. Louis - February 18, 2021 - 08:21 AM
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Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 12 of 22 PageID #: 16
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 13 of 22 PageID #: 17
                                                                                  Electronically Filed - City of St. Louis - March 17, 2021 - 01:50 PM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 14 of 22 PageID #: 18
                                                                                  Electronically Filed - City of St. Louis - March 17, 2021 - 01:50 PM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 15 of 22 PageID #: 19
                                                                                  Electronically Filed - City of St. Louis - March 17, 2021 - 01:50 PM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 16 of 22 PageID #: 20
                                                                                  Electronically Filed - City of St. Louis - March 17, 2021 - 01:50 PM
Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 17 of 22 PageID #: 21
           Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 18 of 22 PageID #: 22
            IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

Judge or Division:                                            Case Number: 2122-CC00361
MICHAEL FRANCIS STELZER
Plaintiff/Petitioner:                                         Plaintiff’s/Petitioner’s Attorney/Address
MARY MACAULAY                                                 HELMUT STARR
                                                              130 S. Bemiston
                                                              SUITE 200
                                                       vs.    CLAYTON, MO 63105
Defendant/Respondent:                                         Court Address:
ST. LOUIS BOA PLACE, LLC                                      CIVIL COURTS BUILDING
Nature of Suit:                                               10 N TUCKER BLVD
CC Pers Injury-Other                                          SAINT LOUIS, MO 63101                                           (Date File Stamp)

                                                ALIAS Summons in Civil Case
  The State of Missouri to: ST. LOUIS BOA PLACE, LLC
                            Alias: A DELAWARE LIMITED LIABILITY COMPANY
 AMY L BROCK, RAGT
 800 MARKET STREET SUITE 301
 ST. LOUIS, MO 63101

       COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.

      CITY OF ST LOUIS                March 17, 2021
                                     ________________________                       ______________________________________________________
                                             Date                                                         Clerk
                                    Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court w ithin 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dw elling place or usual abode of the defendant/respondent w ith
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years w ho permanently resides w ith the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                                 Signature of Sheriff or Server
                                Must be sw orn before a notary public if not serv ed by an a uthorized officer:
                                 Subscribed and sw orn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                    ________________________________________
                                                                      Date                                        Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $    10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-1792              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                                54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:21-cv-00476-SRC Doc. #: 1-1 Filed: 04/23/21 Page: 19 of 22 PageID #: 23
            IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

Judge or Division:                                            Case Number: 2122-CC00361
MICHAEL FRANCIS STELZER
Plaintiff/Petitioner:                                         Plaintiff’s/Petitioner’s Attorney/Address
MARY MACAULAY                                                 HELMUT STARR
                                                              130 S. Bemiston
                                                              SUITE 200
                                                       vs.    CLAYTON, MO 63105
Defendant/Respondent:                                         Court Address:
ST. LOUIS BOA PLACE, LLC                                      CIVIL COURTS BUILDING
Nature of Suit:                                               10 N TUCKER BLVD
CC Pers Injury-Other                                          SAINT LOUIS, MO 63101                                           (Date File Stamp)

                                                ALIAS Summons in Civil Case
  The State of Missouri to: JONES LANG LASALLE AMERICAS INC
                            Alias:
 CSC LAWYERS INC SERVICE                                                  COLE COUNTY. MO
 COMPANY 221 BOLIVAR STREET
 JEFFERSON CITY, MO 65101
     COURT SEAL OF         You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.

      CITY OF ST LOUIS                March 17, 2021
                                     ________________________                       ______________________________________________________
                                             Date                                                         Clerk
                                    Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court w ithin 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dw elling place or usual abode of the defendant/respondent w ith
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years w ho permanently resides w ith the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                                 Signature of Sheriff or Server
                                Must be sw orn before a notary public if not serv ed by an a uthorized officer:
                                 Subscribed and sw orn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                    ________________________________________
                                                                      Date                                        Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $    10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.




OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-1793              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                                54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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